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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND
                             (Northern Division)

MARYLAND ELECTRICAL INDUSTRY
HEALTH FUND, by its Trustee,            *
William Yull
9411 Philadelphia Road, Suite S         *
Baltimore, Maryland 21237
                                        *
and
                                        *
MARYLAND ELECTRICAL INDUSTRY
PENSION FUND, by its Trustee,           *
William Yull
9411 Philadelphia Road, Suite S         *
Baltimore, Maryland 21237
                                        *
and
                                        *
MARYLAND ELECTRICAL INDUSTRY                  Civil Action No.
SEVERANCE AND ANNUITY FUND,             *
By its Trustee, William Yull
9411 Philadelphia Road, Suite S         *
Baltimore, Maryland 21237
                                        *
and
                                        *
MARYLAND ELECTRICAL INDUSTRY
JOINT APPRENTICESHIP AND                *
TRAINING COMMITTEE,
By its Trustee, Neil Wilford            *
2701 West Patapsco Street
Baltimore, Maryland 21230               *

and                                     *

NATIONAL ELECTRICAL BENEFIT FUND        *
by its Trustee, John M. Grau
2400 Research Boulevard, Suite 500      *
Rockville, Maryland 20850-3266
                                        *
and
                                        *
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NATIONAL LABOR MANAGEMENT                         *
COOPERATION COMMITTEE, by its
Local Agent for Collection,                       *
William Yull
802 Cromwell Park Drive, Suite S                  *
Glen Burnie, Maryland 21061
                                                  *
and
                                                  *
MARYLAND ELECTRICAL INDUSTRY
LABOR MANAGEMENT COOPERATION                      *
COMMITTEE, by its Agent for Collection,
William Yull                                      *
802 Cromwell Park Drive, Suite S
Glen Burnie, Maryland 21061                       *

and                                               *

MARYLAND CHAPTER,                                 *
NATIONAL ELECTRICAL
CONTRACTORS ASSOCIATION, INC.,                    *
802 Cromwell Park Drive, Suite S
Glen Burnie, Maryland 21061                       *

and                                               *

LOCAL UNION NO. 307,                              *
INTERNATIONAL BROTHERHOOD OF
ELECTRICAL WORKERS, AFL-CIO,                      *
401 Decatur Street
Cumberland, MD 21502                              *

                     Plaintiffs,                  *

v.                                                *

MOUNTAIN STATE ELECTRIC, INC.                     *
14865 Apple Harvest Drive
Martinsburg, West Virginia 25401                  *

Serve: Leo S. Cline, Resident Agent               *
       20130 A Dogstreet Road
       Keedysville, Maryland 21756                *

                     Defendant.                   *
*      *       *     *     *          *   *       *   *   *   *    *       *



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                                          COMPLAINT

                                           Jurisdiction

       1.       The jurisdiction of this Court is based upon section 502(e) of the Employee

Retirement Income Security Act of 1974, as amended (“ERISA”), 29 U.S.C. § 1132(e) as to

Counts 1-5.

       2.       The jurisdiction of this Court is based upon section 301(a) of the Labor

Management Relations Act, as amended (“LMRA”), 29 U.S.C. § 185(a) as to Counts 6-9.

                                              Parties

       3.       Plaintiff Maryland Electrical Industry Health Fund (“Health Fund”) is an

employee welfare benefit plan as defined in section 3(1) of ERISA, 29 U.S.C. § 1002(1), and

was established and is maintained by employers in an industry or activity affecting commerce

and by an employee organization representing employees in an industry or activity affecting

commerce, within the meaning of section 4(a) of ERISA, 29 U.S.C. § 1003(a). William Yull is a

duly appointed and authorized Trustee of the Health Fund, a fiduciary within the meaning of

section 3(21)(A) of ERISA, 29 U.S.C. § 1002(21)(A), and a member of the joint board of

trustees of the Health Fund, which joint board of trustees is the plan sponsor of the Health Fund

within the meaning of section 3(16)(B)(iii) of ERISA, 29 U.S.C. § 1002(16)(B)(iii).

       4.       Plaintiff Maryland Electrical Industry Pension Fund (“Pension Fund”) is an

employee pension benefit plan as defined in section 3(2) of ERISA, 29 U.S.C. § 1002(2), and

was established and is maintained by employers in an industry or activity affecting commerce

and by an employee organization representing employees in an industry or activity affecting

commerce, within the meaning of section 4(a) of ERISA, 29 U.S.C. § 1003(a). William Yull is a

duly appointed and authorized Trustee of the Pension Fund, a fiduciary within the meaning of




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section 3(21)(A) of ERISA, 29 U.S.C. § 1002(21)(A), and a member of the joint board of

trustees of the Pension Fund, which joint board of trustees is the plan sponsor of the Pension

Fund within the meaning of section 3(16)(B)(iii) of ERISA, 29 U.S.C. § 1002(16)(B)(iii).

       5.       Plaintiff Maryland Electrical Industry Severance and Annuity Fund (“Severance

Fund”) is an employee pension benefit plan as defined in section 3(2) of ERISA, 29 U.S.C. §

1002(2), and was established and is maintained by employers in an industry or activity affecting

commerce and by an employee organization representing employees in an industry or activity

affecting commerce, within the meaning of section 4(a) of ERISA, 29 U.S.C. § 1003(a).

William Yull is a duly appointed and authorized Trustee of the Severance Fund, a fiduciary

within the meaning of section 3(21)(A) of ERISA, 29 U.S.C. § 1002(21)(A), and a member of

the joint board of trustees of the Severance Fund, which joint board of trustees is the plan

sponsor of the Severance Fund within the meaning of section 3(16)(B)(iii) of ERISA, 29 U.S.C.

§ 1002(16)(B)(iii).

       6.       Plaintiff Maryland Electrical Industry Joint Apprenticeship and Training

Committee (“Apprentice Fund”) is an employee welfare benefit plan as defined in section 3(1) of

ERISA, 29 U.S.C. § 1002(1), and was established and is maintained by employers in an industry

or activity affecting commerce and by an employee organization representing employees in an

industry or activity affecting commerce, within the meaning of section 4(a) of ERISA, 29 U.S.C.

§ 1003(a). Neil Wilford is a duly appointed and authorized Trustee of the Apprentice Fund, a

fiduciary within the meaning of section 3(21)(A) of ERISA, 29 U.S.C. § 1002(21)(A), and a

member of the joint board of trustees of the Apprentice Fund, which joint board of trustees is the

plan sponsor of the Apprentice Fund within the meaning of section 3(16)(B)(iii) of ERISA, 29

U.S.C. § 1002(16)(B)(iii).




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       7.       Plaintiff National Electrical Benefit Fund (“NEBF”) is an employee pension

benefit plan within the meaning of section 3(2) of ERISA, 29 U.S.C. § 1002(2), and was

established and is maintained by employers in an industry or activity affecting commerce and by

an employee organization representing employees in an industry or activity affecting commerce,

within the meaning of section 4(a) of ERISA, 29 U.S.C. § 1003(a). John M. Grau is a duly

appointed and authorized Trustee of the NEBF, a fiduciary within the meaning of section

3(21)(A) of ERISA, 29 U.S.C. § 1002(21)(A), and a member of the joint board of trustees of the

NEBF, which joint board of trustees is the plan sponsor of the NEBF within the meaning of

section 3(16)(B)(iii) of ERISA, 29 U.S.C. § 1002(16)(B)(iii).

       8.       Plaintiff National Labor Management Cooperation Committee (“NLMCC”), is a

management - labor association as defined by the Labor Management Cooperation Act of 1978,

as amended, 29 U.S.C. § 175(a), pursuant to section 302(c)(9) of the LMRA, 29 U.S.C. §

186(c)(9). William Yull is the appointed and authorized local agent for collection of the

NLMCC.

       9.       Plaintiff Maryland Electrical Industry Labor Management Cooperation

Committee (“MEILMCC”) is a management - labor association as defined by the Labor

Management Cooperation Act of 1978, as amended, 29 U.S.C. § 175(a), pursuant to section

302(c)(9) of the LMRA, 29 U.S.C. § 186(c)(9). William Yull is an appointed and authorized

agent for collection of the MEILMCC.

       10.      Plaintiff Maryland Chapter, National Electrical Contractors Association, Inc.

(“NECA”), is an employer association incorporated under the laws of the State of Maryland.

       11.      Plaintiff Local Union No. 307, International Brotherhood of Electrical Workers,

AFL-CIO (“Local 307”) is an unincorporated labor organization that represents employees in the




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State of Maryland. Local 307 is a labor organization, as defined in section 2(5) of the LMRA, 29

U.S.C. § 152(5), that represents employees in an industry affecting commerce within the

meaning of sections 2(7) and 301(a) of the LMRA, 29 U.S.C. §§ 152(7), 185(a). Further, Local

307 is an employee organization, as defined in section 3(4) of ERISA, 29 U.S.C. § 1002(4), and

represents employees in an industry or activity affecting commerce as defined in section 3(12) of

ERISA, 29 U.S.C. § 1002(12).

       12.     Defendant Mountain State Electric, Inc. (“Mountain State”) was established as a

corporation under the laws of the State of West Virginia, registered in the State of Maryland in

2007. Mountain State is not a business in good standing with the Maryland State Department of

Assessments and Taxation. Mountain State employs persons in the State of Maryland, in the

electrical trade. Defendant Mountain State is an employer, as defined in section 2(2) of the

LMRA, 29 U.S.C. § 152(2), whose activities affect commerce within the meaning of section 2(7)

of the LMRA, 29 U.S.C. § 152(7). Further, Defendant Mountain State is an employer as defined

by section 3(5) of ERISA, 29 U.S.C. § 1002(5), in an industry or activity affecting commerce

within the meaning of section 3(12) of ERISA, 29 U.S.C. § 1002(12).

                               Collective Bargaining Agreement

       13.     At all times relevant to this action, Mountain State was signatory and subject to a

collective bargaining agreement with Local 307.

       14.     The collective bargaining agreement with Local 307 provides for the rates of pay,

wages, hours of employment and other conditions of employment for employees of Mountain

State covered by said agreement. The Local 307 collective bargaining agreement specifically

provides for the payment by Mountain State to the Health Fund, Pension Fund, Severance Fund,

NLMCC and MEILMCC of specified sums for each hour worked by each of the employees of




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Mountain State covered by said agreement. The collective bargaining agreement also provides

for payment by Mountain State to the Apprentice Fund, NECA and NEBF of specified

percentages of gross wages earned by each of the employees of Mountain State covered by said

agreement. All payments are to be made by the 15th day of the month following the month in

which the hours were worked, and such remittances are to be accompanied by a remittance report

showing the hours worked by each covered employee, the gross wages for such employees, and

the amounts owed to each Fund.

       15.     The Local 307 collective bargaining agreement further provides for certain

authorized deductions to be made from the wages of the employees of Mountain State.

Specifically, in accordance with the collective bargaining agreement with Local 307, union dues

are to be deducted from the wages of the employees of Mountain State and are to be remitted to

Local 307. Remittances to Local 307 are to be made by the 15th day of the month following the

month in which the hours were worked, and such remittances are to be accompanied by a

remittance report showing the hours worked by each covered employee, the gross wages for such

employees and the amounts owed for such hours.

                                       Trust Agreements

       16.     Section 502(g) of ERISA, 29 U.S.C. § 1132(g), requires the Court to award

liquidated damages of up to twenty percent (20%) as provided under the terms of an agreement,

in addition to the amount of unpaid contributions, interest, reasonable attorneys’ fees and costs

when judgment is entered in favor of an employee benefit plan for unpaid contributions. In the

absence of a liquidated damages provision in an agreement, section 502(g)(2) of ERISA, 29

U.S.C. § 1132(g)(2), authorizes an award equal to the amount of interest, which is in addition to

all other amounts awarded. ERISA further provides that interest shall be determined by using




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the rate specified in the agreement, or if none is so specified, at the rate prescribed in section

6621 of the Internal Revenue Code.

       17.       At all times relevant to this action, the Agreements and Declarations of Trust

creating and governing the Health Fund, Pension Fund and Severance Fund provide for the

payment of liquidated damages in the amount of eighteen percent (18%) of the delinquent

contributions.

       18.       The payment of liquidated damages to the Apprentice Fund is governed by

section 502(g)(2) of ERISA, 29 U.S.C. § 1132(g)(2), which requires an award equal to the

amount of interest.

       19.       The Agreement and Declaration of Trust creating and governing the NEBF

provides for the payment of liquidated damages in the amount of twenty percent (20%) of the

delinquent contributions.

       20.       The Agreement and Declaration of Trust creating and governing the NLMCC

provides for the payment of liquidated damages in the amount of twenty dollars ($20.00) or

fifteen percent (15%) of the delinquent contributions, whichever is greater.

       21.       The Agreement and Declaration of Trust creating and governing the MEILMCC

provides for the payment of liquidated damages in the amount of ten dollars ($10.00) or ten

percent (10%) of the delinquent contributions, whichever is greater.

       22.       At all times relevant to this action, the Agreements and Declarations of Trust

creating and governing the Health Fund, Pension Fund and Severance Fund provide that the rate

of interest shall be eighteen percent (18%) per annum.

       23.       The payment of interest to the Apprentice Fund is governed by section 502(g)(2)

of ERISA, 29 U.S.C. § 1132(g)(2), and section 6621 of the Internal Revenue Code.




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       24.     The Agreements and Declarations of Trust creating and governing NECA, NEBF

and NLMCC provide for interest to be calculated at the rate of ten percent (10%) per year on

delinquent contributions.

       25.     The Agreement and Declaration of Trust creating and governing the MEILMCC

provides for interest to be calculated at the legal rate of interest in the State of Maryland on

delinquent contributions.

       26.     The Agreements and Declarations of Trust creating and governing the Funds

provide that a contributing employer shall permit an audit of its payroll and business records,

whenever requested by the Funds, at any reasonable time during the business hours of the

employer.

       27.     The Agreements and Declarations of Trust creating and governing the Funds state

that in the event an employer fails to submit a remittance report showing the number of hours

worked by employees during a month, the Funds are permitted to estimate the amount of the

contributions due by calculating the average of the monthly contributions paid by the employer

for the last three months for which such contributions were paid.

                                          Count One
                         Claim of Health Fund Against Mountain State

       28.     Plaintiffs hereby incorporate each and every allegation set forth in paragraphs 1-

27.

       29.     Mountain State has failed and refused to make required employee fringe benefit

contributions due and owing to the Health Fund for hours worked by employees of Mountain

State for August, September and October, 2019, and failed to pay employee fringe benefit

contributions for the months of May, June, July, August, October, November and December,

2018, and February, March, April, May, June & July, 2019, in a timely manner.



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       30.       Based on the remittance reports filed by Mountain State for the months of August,

September and October, 2019, Mountain State owes to the Health Fund delinquent employee

fringe benefit contributions in the amount of $29,976.31 for hours worked by employees of

Mountain State for August, September and October, 2019.

       31.       Mountain State has not paid the employee fringe benefit contributions due and

owing to the Health Fund for August, September and October, 2019, and owes liquidated

damages in the amount of $5,395.74 on said contributions. Mountain State failed to pay the

employee fringe benefit contributions due and owing for the months of May, June, July, August,

October, November and December, 2018, and February, March, April, May, June and July,

2019, in a timely manner, and owes liquidated damages in the amount of $13,045.14 on said

contributions.

       32.       Mountain State has not paid the employee fringe benefit contributions due and

owing to the Health Fund for August, September and October, 2019, and owes interest in an

amount to be determined on said contributions.

       33.       Mountain State has not paid the employee fringe benefit contributions due and

owing to the Health Fund for the months of May, June, July, August, October, November and

December, 2018, and February, March, April, May, June and July, 2019, in a timely manner, and

owes interest in the amount of $1,275.09 on said contributions.

       34.       Based on the failure of Mountain State to pay employee fringe benefit

contributions for the prior months, the Health Fund believes that Mountain State will continue to

fail to pay employee fringe benefit contributions for future months.




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        WHEREFORE, Plaintiff Health Fund prays:

        a.     That this Court order Mountain State to make all of its payroll and business

records available to Plaintiff Health Fund’s auditors to determine the exact amount owed for the

months of August, September and October, 2019, and any periods subsequent to the filing of this

complaint and prior to the entry of judgment;

        b.     That judgment be entered against Mountain State in the amount of $29,976.31 for

contributions due and owing for August, September and October, 2019, together with interest at

the appropriate rate, from the date the delinquent contributions were due and owing until paid or

until the date of judgment, whichever is sooner;

        c.     That judgment be entered against Mountain State in the amount of $18,440.88 for

liquidated damages due on the delinquent and late-paid contributions owed for the months of

May, June, July, August, October, November and December, 2018, and February, March, April,

May, June, July, August, September and October, 2019;

        d.     That judgement be entered against Mountain State in the amount of $1,275.09 for

interest due on the late-paid contributions owed for the months of May, June, July, August,

October, November and December, 2018, and February, March, April, May, June and July,

2019;

        e.     That judgment be entered against Mountain State in the amount of all unpaid

contributions that accrue subsequent to the filing date of this complaint and prior to entry of

judgment, together with interest at the rate of eighteen percent (18%) per annum, from the date

such contributions are due and owing until the date of judgment, and liquidated damages in the

amount of eighteen percent (18%) on such contributions;




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       f.       That Plaintiff Health Fund be afforded post-judgment interest, reasonable

attorneys’ fees and its costs;

       g.       And, further, that such other relief be granted as this Court deems just and proper.

                                         Count Two
                        Claim of Pension Fund Against Mountain State

       35.      Plaintiffs hereby incorporate each and every allegation set forth in paragraphs 1-

34.

       36.      Mountain State has failed and refused to make required employee fringe benefit

contributions due and owing to the Pension Fund for hours worked by employees of Mountain

State for August, September and October, 2019, and failed to pay employee fringe benefit

contributions for the months of May, June, July, August, October, November and December,

2018, and February, March, April, May, June & July, 2019, in a timely manner.

       37.      Based on the remittance reports filed by Mountain State for the months of August,

September and October, 2018, Mountain State owes to the Pension Fund delinquent employee

fringe benefit contributions in the estimated amount of $10,957.80 for hours worked by

employees of Mountain State for August, September and October, 2019.

       38.      Mountain State has not paid the employee fringe benefit contributions due and

owing to the Pension Fund for August, September and October, 2019, and owes liquidated

damages in the amount of $1,972.40 on said contributions. Mountain State failed to pay the

employee fringe benefit contributions due and owing for May, June, July, August, October,

November and December, 2018, and February, March, April, May, June and July, 2019, in a

timely manner, and owes liquidated damages in the amount of $4,585.35 on said contributions.




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       39.     Mountain State has not paid the employee fringe benefit contributions due and

owing to the Pension Fund for August, September and October, 2019, and owes interest in an

amount to be determined on said contributions.

       40.     Mountain State has not paid the employee fringe benefit contributions due and

owing to the Pension Fund for the months of May, June, July, August, October, November and

December, 2018, and February, March, April, May, June and July, 2019, in a timely manner, and

owes interest in the amount of $459.79 on said contributions.

       41.     Based on the failure of Mountain State to pay employee fringe benefit

contributions for the prior months, the Pension Fund believes that Mountain State will continue

to fail to pay employee fringe benefit contributions for future months.

       WHEREFORE, Plaintiff Pension Fund prays:

       a.      That this Court order Mountain State to make all of its payroll and business

records available to Plaintiff Pension Fund’s auditors to determine the exact amount owed for the

months of August, September and October, 2019, and any periods subsequent to the filing of this

complaint and prior to the entry of judgment;

       b.      That judgment be entered against Mountain State in the amount of $10,957.80 for

contributions due and owing for August, September and October, 2019, together with interest at

the appropriate rate, from the date the delinquent contributions were due and owing until paid or

until the date of judgment, whichever is sooner;

       c.      That judgment be entered against Mountain State in the amount of $6,557.75 for

liquidated damages due on the delinquent and late-paid contributions owed for the months of

May, June, July, August, October, November and December, 2018, and February, March, April,

May, June, July, August, September and October, 2019;




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        d.       That judgement be entered against Mountain State in the amount of $459.79 for

interest due on the late-paid contributions owed for the months of May, June, July, August,

October, November and December, 2018, and February, March, April, May, June and July,

2019;

        e.       That judgment be entered against Mountain State in the amount of all unpaid

contributions that accrue subsequent to the filing date of this complaint and prior to entry of

judgment, together with interest at the rate of eighteen percent (18%) per annum, from the date

such contributions are due and owing until the date of judgment, and liquidated damages in the

amount of eighteen percent (18%) on such contributions;

        f.       That Plaintiff Pension Fund be afforded post-judgment interest, reasonable

attorneys’ fees and its costs;

        g.       And, further, that such other relief be granted as this Court deems just and proper.

                                         Count Three
                        Claim of Severance Fund Against Mountain State

        42.      Plaintiffs hereby incorporate each and every allegation set forth in paragraphs 1-

41.

        43.      Mountain State has failed and refused to make required employee fringe benefit

contributions due and owing to the Severance Fund for hours worked by employees of Mountain

State for August, September and October, 2019, and failed to pay employee fringe benefit

contributions for the months of May, June, July, August, October, November and December,

2018, and February, March, April, May, June & July, 2019, in a timely manner.

        44.      Based on the remittance reports filed by Mountain State for the months of August,

September and October, 2018, Mountain State owes to the Severance Fund delinquent employee




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fringe benefit contributions in the estimated amount of $8,936.63 for hours worked by

employees of Mountain State for August, September and October, 2019.

       45.       Mountain State has not paid the employee fringe benefit contributions due and

owing to the Severance Fund for August, September and October, 2019, and owes liquidated

damages in the amount of $1,608.59 on said contributions. Mountain State failed to pay the

employee fringe benefit contributions due and owing for the months of May, June, July, August,

October, November and December, 2018, and February, March, April, May, June and July,

2019, in a timely manner, and owes liquidated damages in the amount of $4,135.87 on said

contributions.

       46.       Mountain State has not paid the employee fringe benefit contributions due and

owing to the Severance Fund for August, September and October, 2019, and owes interest in an

amount to be determined on said contributions.

       47.       Mountain State has not paid the employee fringe benefit contributions due and

owing to the Severance Fund for the months of May, June, July, August, October, November and

December, 2018, and February, March, April, May, June and July, 2019, in a timely manner, and

owes interest in the amount of $408.74 on said contributions.

       48.       Based on the failure of Mountain State to pay employee fringe benefit

contributions for the prior months, the Severance Fund believes that Mountain State will

continue to fail to pay employee fringe benefit contributions for future months.

       WHEREFORE, Plaintiff Severance Fund prays:

       a.        That this Court order Mountain State to make all of its payroll and business

records available to Plaintiff Severance Fund’s auditors to determine the exact amount owed for




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the months of August, September and October, 2019, and any periods subsequent to the filing of

this complaint and prior to the entry of judgment;

        b.       That judgment be entered against Mountain State in the amount of $8,936.637 for

contributions due and owing for August, September and October, 2019, together with interest at

the appropriate rate, from the date the delinquent contributions were due and owing until paid or

until the date of judgment, whichever is sooner;

        c.       That judgment be entered against Mountain State in the amount of $587.81 for

liquidated damages due on the delinquent and late-paid contributions owed for the months of

May, June, July, August, October, November and December, 2018, and February, March, April,

May, June, July, August, September and October, 2019;

        d.       That judgement be entered against Mountain State in the amount of $408.74 for

interest due on the late-paid contributions owed for the months of May, June, July, August,

October, November and December, 2018, and February, March, April, May, June and July,

2019;

        e.       That judgment be entered against Mountain State in the amount of all unpaid

contributions that accrue subsequent to the filing date of this complaint and prior to entry of

judgment, together with interest at the rate of eighteen percent (18%) per annum, from the date

such contributions are due and owing until the date of judgment, and liquidated damages in the

amount of eighteen percent (18%) on such contributions;

        f.       That Plaintiff Severance Fund be afforded post-judgment interest, reasonable

attorneys’ fees and its costs;

        g.       And, further, that such other relief be granted as this Court deems just and proper.




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                                       Count Four
                     Claim of Apprentice Fund Against Mountain State

       49.     Plaintiffs hereby incorporate each and every allegation set forth in paragraphs 1-

48.

       50.     Mountain State has failed and refused to make required employee fringe benefit

contributions due and owing to the Apprentice Fund for hours worked by employees of

Mountain State for August, September and October, 2019, and failed to pay employee fringe

benefit contributions for the months of May, June, July, August, October, November and

December, 2018, and February, March, April, May, June & July, 2019, in a timely manner.

       51.     Based on the remittance reports filed by Mountain State for the months of August,

September and October, 2018, Mountain State owes to the Apprentice Fund delinquent employee

fringe benefit contributions in the estimated amount of $3,353.92 for hours worked by

employees of Mountain State for August, September and October, 2019.

       52.     Mountain State has not paid the employee fringe benefit contributions due and

owing to the Apprentice Fund for August, September and October, 2019, and owes liquidated

damages in an amount to be determined on said contributions, equal to the amount of interest

awarded.

       53.     Mountain State failed to pay the employee fringe benefit contributions due and

owing to the Apprentice fund for the months of May, June, July, August, October, November

and December, 2018, and February, March, April, May, June and July, 2019, in a timely manner,

and owes liquidated damages in the amount of $24.53 on said contributions.

       54.     Mountain State has not paid the employee fringe benefit contributions due and

owing to the Apprentice Fund for August, September and October, 2019, and owes interest in an

amount to be determined on said contributions.



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       55.       Mountain State has not paid the employee fringe benefit contributions due and

owing to the Apprentice Fund for the months of May, June, July, August, October, November

and December, 2018, and February, March, April, May, June and July, 2019, in a timely manner,

and owes interest in the amount of $24.53 on said contributions.

       56.       Based on the failure of Mountain State to pay employee fringe benefit

contributions for the prior months, the Apprentice Fund believes that Mountain State will

continue to fail to pay employee fringe benefit contributions for future months.

       WHEREFORE, Plaintiff Apprentice Fund prays:

       a.        That this Court order Mountain State to make all of its payroll and business

records available to Plaintiff Apprentice Fund’s auditors to determine the exact amounts owed

for the months of August, September and October, 2019, and any periods subsequent to the filing

of this complaint and prior to the entry of judgment;

       b.        That judgment be entered against Mountain State in the amount of $3,353.92 for

contributions due and owing for August, September and October, 2019, together with interest on

the delinquent contributions at the rate prescribed under section 6621 of the Internal Revenue

Code, from the date the delinquent contributions were due and owing until paid or until the date

of judgment, whichever is sooner;

       c.        That judgment be entered against Mountain State in an amount to be determined

for liquidated damages due on the delinquent contributions owed for August, September and

October, 2019;

       d.        That judgement be entered against Mountain State in the amount of $24.53 for

liquidated damages due on the late-paid contributions owed for the months of May, June, July,




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August, October, November and December, 2018, and February, March, April, May, June and

July, 2019;

        e.       That judgment be entered against Mountain State in the amount of $24.53 for

interest due on the late-paid contributions owed for the months of May, June, July, August,

October, November and December, 2018, and February, March, April, May, June and July,

2019;

        f.       That judgment be entered against Mountain State in the amount of all unpaid

contributions that accrue subsequent to the filing date of this complaint and prior to entry of

judgment, together with interest at the rate prescribed under section 6621 of the Internal Revenue

Code, from the date such contributions are due and owing until the date of judgment, and

liquidated damages in the same amount as provided by section 502(g)(2) of ERISA, 29 U.S.C. §

1132(g)(2).

        g.       That Plaintiff Apprentice Fund be afforded post-judgment interest, reasonable

attorneys’ fees and its costs;

        h.       And, further, that such other relief be granted as this Court deems just and proper.

                                         Count Five
                             Claim of NEBF Against Mountain State

        57.      Plaintiffs hereby incorporate each and every allegation set forth in paragraphs 1-

56.

        58.      Mountain State has failed and refused to make required employee fringe benefit

contributions due and owing to the NEBF for hours worked by employees of Mountain State for

August, September and October, 2019, and failed to pay employee fringe benefit contributions

for the months of May, June, July, August, October, November and December, 2018, and

February, March, April, May, June & July, 2019, in a timely manner.



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       59.     Based on the remittance reports filed by Mountain State for the months of August,

September and October, 2018, Mountain State owes to the NEBF delinquent employee fringe

benefit contributions in the estimated amount of $3,353.92 for hours worked by employees of

Mountain State for August, September and October, 2019.

       60.     Mountain State has not paid the employee fringe benefit contributions due and

owing to the NEBF for August, September and October, 2019, and owes liquidated damages in

the amount of $670.78 on said contributions. Mountain State failed to pay the employee fringe

benefit contributions due and owing for the months of May, June, July, August, October,

November and December, 2018, and February, March, April, May, June and July, 2019, in a

timely manner, and owes liquidated damages in the amount of $1,669.04 on said contributions.

       61.     Mountain State has not paid the employee fringe benefit contributions due and

owing to the NEBF for August, September and October, 2019, and owes interest in an amount to

be determined on said contributions.

       62.     Mountain State has not paid the employee fringe benefit contributions due and

owing to the NEBF for the months of May, June, July, August, October, November and

December, 2018, and February, March, April, May, June and July, 2019, in a timely manner, and

owes interest in the amount of $81.78 on said contributions.

       63.     Based on the failure of Mountain State to pay employee fringe benefit

contributions for the prior months, the NEBF believes that Mountain State will continue to fail to

pay employee fringe benefit contributions for future months.

       WHEREFORE, Plaintiff NEBF prays:

       a.      That this Court order Mountain State to make all of its payroll and business

records available to Plaintiff NEBF’s auditors to determine the exact amount owed for the




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months of August, September and October, 2019, and any periods subsequent to the filing of this

complaint and prior to the entry of judgment;

        b.       That judgment be entered against Mountain State in the amount of $3,353.92 for

contributions due and owing for August, September and October, 2019, together with interest on

the delinquent contributions at the rate of ten percent (10%) per year, from the date the

delinquent contributions were due and owing until paid or until the date of judgment, whichever

is sooner;

        c.       That judgment be entered against Mountain State in the amount of $2,339.82 for

liquidated damages due on the delinquent and late-paid contributions owed for the months of

May, June, July, August, October, November and December, 2018, and February, March, April,

May, June, July, August, September and October, 2019;

        d.       That judgement be entered against Mountain State in the amount of $81.78 for

interest due on the late-paid contributions owed for the months of May, June, July, August,

October, November and December, 2018, and February, March, April, May, June and July,

2019;

        e.       That judgment be entered against Mountain State in the amount of all unpaid

contributions that accrue subsequent to the filing date of this complaint and prior to entry of

judgment, together with interest at rate of ten percent (10%) per year, from the date such

contributions are due and owing until the date of judgment, and liquidated damages in the

amount of twenty percent (20%) on such contributions;

        f.       That Plaintiff NEBF be afforded post-judgment interest, reasonable attorneys’

fees and its costs;

        g.       And, further, that such other relief be granted as this Court deems just and proper.




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                                       Count Six
                          Claim of NLMCC Against Mountain State

       64.    Plaintiffs hereby incorporate each and every allegation set forth in paragraphs 1-

63.

       65.    Mountain State has failed and refused to make required employee fringe benefit

contributions due and owing to the NLMCC for hours worked by employees of Mountain State

for August, September and October, 2019, and failed to pay employee fringe benefit

contributions for the months of May, June, July, August, October, November and December,

2018, and February, March, April, May, June & July, 2019, in a timely manner.

       66.    Based on the remittance reports filed by Mountain State for the months of August,

September and October, 2018, Mountain State owes to the NLMCC delinquent employee benefit

contributions in the estimated amount of $44.22 for hours worked by employees of Mountain

State for August, September and October, 2019.

       67.    Mountain State has not paid the employee fringe benefit contributions due and

owing to the NLMCC for August, September and October, 2019, and owes liquidated damages

in the amount of $60.00 on said contributions. Mountain State failed to pay the employee fringe

benefit contributions due and owing for the months of May, June, July, August, October,

November and December, 2018, and February, March, April, May, June and July, 2019, in a

timely manner, and owes liquidated damages in the amount of $260.00 on said contributions.

       68.    Mountain State has not paid the employee fringe benefit contributions due and

owing to the NLMCC for August, September and October, 2019, and owes interest in an amount

to be determined on said contributions.

       69.    Mountain State has not paid the employee fringe benefit contributions due and

owing to the NLMCC for the months of May, June, July, August, October, November and



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December, 2018, and February, March, April, May, June and July, 2019, in a timely manner, and

owes interest in the amount of $1.05 on said contributions.

        70.    Based on the failure of Mountain State to pay employee fringe benefit

contributions for the prior months, the NLMCC believes that Mountain State will continue to fail

to pay employee fringe benefit contributions for future months.

        WHEREFORE, Plaintiff NLMCC prays:

        a.     That this Court order Mountain State to make all of its payroll and business

records available to Plaintiff NLMCC’s auditors to determine the exact amount owed for the

months of August, September and October, 2019, and any periods subsequent to the filing of this

complaint and prior to the entry of judgment;

        b.     That judgment be entered against Mountain State in the amount of $44.22 for

contributions due and owing for August, September and October, 2019, together with interest on

the delinquent contributions at the rate of ten percent (10%) per year, from the date the

delinquent contributions were due and owing until paid or until the date of judgment, whichever

is sooner;

        c.     That judgment be entered against Mountain State in the amount of $320.00 for

liquidated damages due on the delinquent and late-paid contributions owed for the months of

May, June, July, August, October, November and December, 2018, and February, March, April,

May, June, July, August, September and October, 2019;

        d.     That judgement be entered against Mountain State in the amount of $1.05 for

interest due on the late-paid contributions owed for the months of May, June, July, August,

October, November and December, 2018, and February, March, April, May, June and July,

2019;




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        e.       That judgment be entered against Mountain State in the amount of all unpaid

contributions that accrue subsequent to the filing date of this complaint and prior to entry of

judgment, together with interest at the rate of ten percent (10%) per year, from the date such

contributions are due and owing until the date of judgment, and liquidated damages in the

amount of twenty dollars ($20.00) or fifteen percent (15%) of such delinquent contributions,

whichever is greater;

        f.       That Plaintiff NLMCC be afforded post-judgment interest, reasonable attorneys’

fees and its costs;

        g.       And, further, that such other relief be granted as this Court deems just and proper.

                                       Count Seven
                          Claim of MEILMCC Against Mountain State

        71.      Plaintiffs hereby incorporate each and every allegation set forth in paragraphs 1-

70.

        72.      Mountain State has failed and refused to make required employee fringe benefit

contributions due and owing to the MEILMCC for hours worked by employees of Mountain

State for August, September and October, 2019, and failed to pay employee fringe benefit

contributions for the months of May, June, July, August, October, November and December,

2018, and February, March, April, May, June & July, 2019, in a timely manner.

        73.      Based on the remittance reports filed by Mountain State for the months of August,

September and October, 2018, Mountain State owes to the MEILMCC delinquent employee

fringe benefit contributions in the estimated amount of $398.00 for hours worked by employees

of Mountain State for August, September and October, 2019.

        74.      Mountain State has not paid the employee fringe benefit contributions due and

owing to the MEILMCC for August, September and October, 2019, and owes liquidated



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damages in the amount of $30.00 on said contributions. Mountain State failed to pay the

employee fringe benefit contributions due and owing for the months of May, June, July, August,

October, November and December, 2018, and February, March, April, May, June and July,

2019, in a timely manner, and owes liquidated damages in the amount of $130.00 on said

contributions.

       75.       Mountain State has not paid the employee fringe benefit contributions due and

owing to the MEILMCC for August, September and October, 2019, and owes interest in an

amount to be determined on said contributions.

       76.       Mountain State has not paid the employee fringe benefit contributions due and

owing to the MEILMCC for the months of May, June, July, August, October, November and

December, 2018, and February, March, April, May, June and July, 2019, in a timely manner, and

owes interest in the amount of $5.67 on said contributions.

       77.       Based on the failure of Mountain State to pay employee fringe benefit

contributions for the prior months, the MEILMCC believes that Mountain State will continue to

fail to pay employee fringe benefit contributions for future months.

       WHEREFORE, Plaintiff MEILMCC prays:

       a.        That this Court order Mountain State to make all of its payroll and business

records available to Plaintiff MEILMCC’s auditors to determine the exact amount owed for the

months of August, September and October, 2019, and any periods subsequent to the filing of this

complaint and prior to the entry of judgment;

       b.        That judgment be entered against Mountain State in the amount of $398.00 for

contributions due and owing for August, September and October, 2019, together with interest at




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the legal rate in the State of Maryland, from the date the delinquent contributions were due and

owing until paid or until the date of judgment, whichever is sooner;

        c.       That judgment be entered against Mountain State in the amount of $160.00 for

liquidated damages due on the delinquent and late-paid contributions owed for the months of

May, June, July, August, October, November and December, 2018, and February, March, April,

May, June, July, August, September and October, 2019;

        d.       That judgement be entered against Mountain State in the amount of $5.67 for

interest due on the late-paid contributions owed for the months of May, June, July, August,

October, November and December, 2018, and February, March, April, May, June and July,

2019;

        e.       That judgment be entered against Mountain State in the amount of all unpaid

contributions that accrue subsequent to the filing date of this complaint and prior to entry of

judgment, together with interest at the legal rate in the State of Maryland, from the date such

contributions are due and owing until the date of judgment, and liquidated damages in the

amount of ten dollars ($10.00) or ten percent (10%) of such delinquent contributions, whichever

is greater;

        f.       That Plaintiff MEILMCC be afforded post-judgment interest, reasonable

attorneys’ fees and its costs;

        g.       And, further, that such other relief be granted as this Court deems just and proper.

                                         Count Eight
                             Claim of NECA Against Mountain State

        78.      Plaintiffs hereby incorporate each and every allegation set forth in paragraphs 1-

77.




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       79.       Mountain State has failed and refused to make required employee fringe benefit

contributions due and owing to NECA for hours worked by employees of Mountain State for

August, September and October, 2019, and failed to pay employee fringe benefit contributions

for the months of May, June, July, August, October, November and December, 2018, and

February, March, April, May, June & July, 2019, in a timely manner.

       80.       Based on the remittance reports filed by Mountain State, for the months of

August, September and October, 2018, Mountain State owes to NECA delinquent employee

fringe benefit contributions in the estimated amount of $442.20 for August, September and

October, 2019.

       81.       Mountain State has not paid the employee fringe benefit contributions due and

owing to NECA for August, September and October, 2019, and owes interest in an amount to be

determined on said contributions.

        82.      Mountain State has not paid the employee fringe benefit contributions due and

owing to NECA for the months of May, June, July, August, October, November and December,

2018, and February, March, April, May, June and July, 2019, in a timely manner, and owes

interest in the amount of $6.23 on said contributions.

       83.       Based on the failure of Mountain State to pay employee fringe benefit

contributions for the prior months, NECA believes that Mountain State will continue to fail to

pay employee fringe benefit contributions for future months.

       WHEREFORE, Plaintiff NECA prays:

       a.        That this Court order Mountain State to make all of its payroll and business

records available to Plaintiff NECA’s auditors to determine the exact amount owed for August,




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September and October, 2019, and any periods subsequent to the filing of this complaint and

prior to the entry of judgment;

        b.       That judgment be entered against Mountain State in the amount of $442.20 for

contributions due and owing for August, September and October, 2019, together with interest on

the delinquent contributions at the rate of six percent (6%) per year, from the date the delinquent

contributions were due and owing until paid or until the date of judgment, whichever is sooner;

        c.       That judgement be entered against Mountain State in the amount of $6.23 for

interest due on the late-paid contributions owed for the months of May, June, July, August,

October, November and December, 2018, and February, March, April, May, June and July,

2019;

        d.       That judgment be entered against Mountain State in the amount of all unpaid

contributions that accrue subsequent to the filing date of this complaint and prior to entry of

judgment, together with interest at the rate of six percent (6%) per year;

        e.       That Plaintiff NECA be afforded post-judgment interest, reasonable attorneys’

fees and its costs;

        f.       And, further, that such other relief be granted as this Court deems just and proper.

                                          Count Nine
                           Claim of Local 307 Against Mountain State

        84.      Plaintiffs hereby incorporate each and every allegation set forth in paragraphs 1-

83.

        85.      Mountain State has failed and refused to remit to Local 307 the union dues

deducted from its employees’ paychecks for August, September and October, 2019, and failed to

remit to Local 307 for the months of May, June, July, August, October, November and

December, 2018, and February, March, April, May, June & July, 2019, in a timely manner.



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       86.       Based on the remittance reports filed by Mountain State for the months of August,

September and October, 2018, Mountain State owes to Local 307 unremitted union dues in the

estimated amount of $5,077.48 for August, September and October, 2019.

       87.       Mountain State has not paid the remittances due and owing to Local 307 for

August, September and October, 2019, and owes interest in an amount to be determined on said

remittances.

       88.       Mountain State has not paid the employee fringe benefit contributions due and

owing to Local 307 for the months of May, June, July, August, October, November and

December, 2018, and February, March, April, May, June and July, 2019, in a timely manner, and

owes interest in the amount of $79.76 on said contributions.

       89.       Based on the failure of Mountain State to remit dues deductions for prior months,

Local 307 believes that Mountain State will continue to fail to pay remittances deductions for

future months.

       WHEREFORE, Plaintiff Local 307 prays:

       a.        That this Court order Mountain State to make all of its payroll and business

records available to Plaintiff Local 307’s auditors to determine the exact amount owed for the

months of August, September and October, 2019, and any periods subsequent to the filing of this

complaint and prior to the entry of judgment;

       b.        That judgment be entered against Mountain State in the amount of $5,077.48 for

remittances due and owing for August, September and October, 2019, together with interest at

the legal rate in the State of Maryland from the date the delinquent contributions were due and

owing until paid or until the date of judgment, whichever is sooner;




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        c.       That judgement be entered against Mountain State in the amount of $79.76 for

interest due on the late-paid contributions owed for the months of May, June, July, August,

October, November and December, 2018, and February, March, April, May, June and July,

2019;

        d.       That judgment be entered against Mountain State in the amount of all unpaid

remittances that accrue subsequent to the filing date of this complaint and prior to entry of

judgment, together with interest at the legal rate in the State of Maryland from the date such

contributions were due to the date of judgment;

        e.       That Plaintiff Local 307 be afforded post-judgment interest, reasonable attorneys’

fees and its costs;

        f.       And, further, that such other relief be granted as this Court deems just and proper.



December 12, 2019                                      /s/ Corey Smith Bott
Date                                                   Corey Smith Bott
                                                       Bar No. 25673

                                                       /s/ Shauna Barnaskas
                                                       Shauna Barnaskas
                                                       Bar No. 16755
                                                       Abato, Rubenstein and Abato, P.A.
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